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IN THE£UNITED sTATEs DISTRICT COURT
FOR THE NORTHERN DISTRICT 0F TEM NOV -6 AM 9: 51,
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UNITED sTATEs oF AMERICA
EX REL. cHRIsToPHER sEAN
cAPsHAw
Relator

vs.
BRYAN K. WHITE, M.D.,

INDIVIDUALLY; BE GENTLE HOME _ _ v - `
HEALTH, INC. d/b/a PHOENIX HOME 3 1 2 C V 4 4 5 7 N
HEALTH CARE; SURESH KUMAR, Civil Action No.:

INDIVIDUALLY; HOSPICE PLUS, L.P.;
SABARI KUMAR, INDIVIDUALLY;
REMANI B. KUMAR, M.D.
INDIVIDUALLY; NORTH TEXAS BEST
HOME HEALTH; A&S HOME HEALTH
CARE; GOODWIN HOME HEALTH
SERVICES, INC.; D. YALE SAGE,
INDIVIDUALLY; KIRK SHORT,
INDIVIDUALLY; SHEILA HALCROW
A.K.A. SHEILA WATLEY/SHEILA
TAYLOR, INDIVIDUALLY

VVVVVVWVVVVVVVVVVVVVVV

Defendants

RELATOR’S COMPLAINT FOR DAMAGES UNDER THE FALSE CLAIMS ACT
31 USC 8 3729 ET SEO.

COMES NOW the United States Of Arnerica ex rel. Christopher Sean Capshaw
Relator/Plaintiff, and, pursuant to 31 U.S.C. § 3729, et Seq., and other applicable rules and law,
files the instant Complaint against Bryan K. White, M.D., individually; Suresh Kurnar,
Individually; Be Gentle Home Health, Inc. d/b/a Phoenix Home Health Care; North Texas Best
Home Health; A&S Home Health Care; Goodwin Home Health Services, Inc.; Hospice Plus,

L.P.; Goodwin Hospice, Inc.; D. Yale Sage, individually; Kirk Short, individually, Sheila

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Halcrow a.k.a. Sheila Watley/Sheila Taylor, individually, for cause of claim would show as

follows:

I.
PARTIES

1. Relator, Christopher Sean Capshaw is an adult resident of Dallas County,
Texas, residing at 4602 Rockaway, Dallas, Texas, 75214, who brings this action by Virtue of
being an original source of the information on which the allegations are based, having direct and
independent knowledge on which these allegations are based.

2. Relator is an insider to the scheme between the Part A Medicare participant
companies (the White/Kumar companies, Defendants) and Part B participants (the American
Physician House Calls (“APH”), American Physician House Calls Health Services
(“APHHS”)).

3. Formally, Relator’s position in APH was as Finance Director answering to Senior
Vice President of Compliance, Chris McAdam. A graphical description of Relator’s position as
within APH is shown in Appendix E, taken from the files of information collected by Relator.

4. Relator has direct and independent knowledge of the allegations herein and is
disclosing to the United States substantially all of the evidence and information gathered by
Relator upon discovering the scheme among the Defendants and the true relationship between
the Defendants and APH/APHHS. Each of these entities and Defendants are more fully
described beloW.

5 . Relator is serving upon the Government, pursuant to 31 USC 3730(b)(2) a written
disclosure of substantially all material evidence and information the Relator possesses together
with this Complaint. This evidence together with the information known by Relator reveal the

scheme developed by the Defendants.

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6. Defendant Bryan K. White, M.D. is a natural person in Dallas, Texas, who may
be served with process at 221 West Colorado Blvd., Suite 640, Dallas, Texas 75208. White is a
central player in the scheme. He is: (l) part owner of all Part A Medicare participant companies,
Defendants, (2) a significant lender to Part B participant APH, and (3) was the Medical Director
for APHHS.

7. Defendant Suresh Kumar is a natural person domiciled in Dallas, Texas, who
may be served with process at 5550 Harvest Hill Road, Suite 125, Dallas, Texas 75230. Kumar is
a central player in the scheme. He is: (l) part owner or manager of all Part A Medicare
participant companies, Defendants, (2) a significant investor in Part B Medicare participant
APH, and (3) was the manager for all of the White/Kumar owned business (whether personally
or through his relatives).

8. Defendant Be Gentle Home Health, Inc. (hereinafter “Be Gentle”) is a Texas
corporation, which may be served with process at Suresh Kumar, Registered Agent, 5550
Harvest Hill Road, Suite 125, Dallas, Texas 75230. Be Gentle is a Part A Medicare participant
company owned primarily by White and Kumar (with Defendants Kirk Short and Yale Sage
having some ownership interest given as a kickback), and is managed by Kumar.

9. Defendant Phoenix Home Health Care is a d/b/a of Be Gentle Home Health,
Inc. (hereinafter “Phoenix”) and it may be served at its original place of business, 5550 Harvest
Hill Road, Suite 125, Dallas, Texas 75230.

10. Defendant North Texas Best Home Healthcare Inc. (hereinafter “North Texas
Best”) is a domestic for-profit corporation that may be served with process at Sabari Kumar,
2629 Serenity Ct., Carrollton, Texas 75010. North Texas Best is a Part A Medicare participant

company owned by White and managed by Kumar.

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ll. Defendant A&S Home Health Care (hereinafter “A&S) is a Texas corporation,
which may be served with process at 17826 Davenport Rd., Suite A, Dallas, Texas 75252. A & S
is a Part A Medicare participant company owned by White and managed by Kumar.

12. Goodwin Home Health Services, Inc. (hereinafter “Goodwin”) is a corporation
that may be served with process at Mayub Malik, 1909 Kensington Drive, Carrollton, Texas
75007. Goodwin Home Health is a Part A Medicare participant company owned by White and
Kumar, and managed by Kumar.

13. Hospice Plus, L.P. (hereinafter “Hospice Plus”) is a domestic limited partnership
(LP) which may be served with process at CT Corporation System, 350 North St. Paul Street,
Suite 2900, Dallas, Texas 75201-4234. Hospice Plus is a Part A Medicare participant company
owned by White and Kumar, and managed by Kumar.

14. Goodwin Hospice Inc. (hereafter “Goodwin Hospice"’) is a corporation that may
be served with process at 3100 McKinnon St. Suite 200, Dallas, Texas 75201. Goodwin Hospice
is a Part A Medicare participant company owned by White and Kumar, and managed by Kumar.

15. Defendant Dan Yale Sage (hereinafter “Sage”) is a natural person domiciled in
Dallas, Texas who may be served with process at 5727 W. Hanover Ave., Dallas, TeXas 75209-
3429. Sage was the primary owner and manager of Part B Medicare participant APH, and is also
part owner of Part A Medicare participant, Be Gentle Home Health, Inc.

l6. Defendant Kirk Short (hereinafter “Short”) is a natural person domiciled in
Dallas, Texas who may be served with process at 6722 Blue Valley Lane, Dallas, Texas 75214-
2716. Short managed Part B Medicare participant APH, and is a part owner of Part A Medicare

participant, Be Gentle Home Health, Inc.

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17. Defendant Sheila Halcrow, a.k.a. Sheila Watley/Sheila Taylor (hereinafter
“Halcrow”) is a natural person domiciled in Dallas, Texas who may be served with process at
2835 Villa Creek Drive, Apt. 213, Dallas, Texas 75234-7447. Halcrow managed Part B
Medicare participant APH, and controlled all APHHS doctors, mandating referrals be directed to
one of the Defendant Part A Medicare participant companies.

18. The web of parties is complicated by the corporate identities whose names do not
reveal the common interests and ownership and interests of the Defendants White, Kumar, Sage,
Short, and Halcrow. The flowchart of the scheme, attached as Appendix I, illustrates the
connection.

NON-PARTY CO-CONSPIRATORS

l9. Sage Physician Partners, Inc. d/b/a American Physician Housecalls (“APH”)
is a for-profit business formerly Owned primarily by Dan Yale Sage (Defendant herein), Kirk
Short (Defendant herein) Suresh Kumar (Defendant herein) and a number of other individual
shareholders

20. Relator has tendered in his disclosure statement to the United States the stock and
debt holders names and stakes in APH, APH is now bankrupt and out of business.

21. None of the scheme alleged herein was disclosed in the bankruptcy APH.

22. APH was a for profit corporation with a singular purpose, to manage APHHS,
whose only employees were physicians Defendant Sheila Halcrow coordinated the physician
referrals complained of herein by APHHS physicians.

23. Halcrow was employed by APH and coordinated the physician referrals under the

APHHS Medical Director, Defendant Bryan White, M.D.

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24. American Physician Housecalls Health Services, Inc. (herein referred to as
“APHHS”) is a corporation organized as a non-profit that functioned to employ doctors and care
providers. These employees of APHHS provided certifications, re-certifications and orders
necessary to effectuate the referrals of Part A eligible patients to populate the White/Kumar
owned Defendant Part A Medicare participant companies in violation of Stark law and the Anti-
Kickback statute.

l 25. The type of patient referred by APHHS personnel to the White/Kumar Part A
companies were patients that did not already have an existing relationship with another similar
Part A Medicare provider.

26. In addition to the scheme as outlined by Appendix I, the APHHS physicians
submitted false claims related to Care Plan Oversights (CPO) for patients that Were referred by
APHHS to the White/Kumar Part A companies The CPO funds were used, in addition to the
kickback loans and investment from White and Kumar, to sustain the business of APH and
APHHS, so that these failing Part B companies could continue to be a source of illegal referrals
to the White/Kumar Part A Defendant companies.

27. To be clear, APH and APHHS were not profitable and the business model they
could have legitimately operated under was not sustainable. However, in order to keep the
referral pipeline flowing, White and Kumar invested millions of dollars with no hope for any
monetary return. A description of the debt instruments from APH’s own files is attached here as
Appendix F. Though titled “expired” debt instruments, the terms reveal that 13 of the 14
instruments were “extended indefinitely," which is evidence the loans were never intended to be

paid in the ordinary course of business by APH,

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28. ln essence, the profitable Part A Medicare providers threw good-money-after-bad
to keep the fledgling Part B Medicare participant APH/APHHS provider afloat in order to
continue the illegal referrals scheme.

29. The party Defendants together with the non-parties described here acted in a

conspiracy to violate the False Claims Act through express and implied false certification that
Stark law and the Anti-Kickback statute were being complied with when in fact they were being

violated habitually, and in the ordinary course of business under the scheme.

II.
TABLE OF RELATOR’S APPENDIX

A. Medicare Enrollment Application (Form 8551) containing Certification Statement - See
p. 25.

B. Spreadsheet tracking 1.75 years of referrals to Non-Hospice Providers. The scheme
lasted approximately 6 years in total. (None of the Hospice referrals are included in this
document).

C. Superbill excerpts, includes specific patients referred in violation of the Anti-Kickback
Statute and Stark law and shows actual payments by Medicare for the services in
violation of the False Claims Act. The full text Superbill is over 4000 pages.

D. Hospice Plus Monthly Billing Statement showing payments by Medicare of over $29.3
million during 3.25 years of the 6 year scheme, Approximately $14.6 million of the
payments in that period were paid through false claims generated by the scheme
described below. The balance of the 6 year scheme includes 5 additional Medicare Part
A facilities.

E. Organization Chart for APH showing Relator’s connection to the entities involved.

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F. Debt Chart identifying some of the debt instruments used to keep APHHS and APH
operating during the scheme and demonstrating the financial relationship between the
Medicare Part A Defendants and the Medicare Part B entities.

G. APH Family of Companies from the files of APH.

H. Citymark Lease.

I. Flowchart of the Scheme.

II.
NATURE OF THE CASE

30. This case involves a conspiracy to commit violations of the Federal Anti-
Kickback statute and Stark law, which resulted in violations of the False Claims Act by
Defendants. This action is brought by Relator pursuant to the qui tam provision of 31 U.S.C.
3729 et seq., the False Claims Act.

31. Defendants, directly and through conspiracy, made material false statements to
Medicare in order to receive payment on Medicare claims The material false statements were (l)
false express certifications made as a condition of payment that all claims and underlying
transactions complied with the Federal Anti-Kickback statute, Stark law, and other such law;
and, (2) implied false certification when billing Medicare that all claims and underlying
transactions complied with the Federal Anti-kickback statute, Stark law, and other such law.

32. These false certifications were made through a web of Part A and Part B Medicare
participants involved in a scheme of referrals and kickbacks The scheme is illustrated by the
flowchart attached as Appendix I.

33. In essence, Defendants Bryan White and Suresh Kumar, together with Defendants
Yale Sage, Kirk Short, and Sheila Halcrow, knowingly set up a system of kickbacks and illegal

referrals ln this scheme a financially unviable Part B Medicare participant company primarily

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owned by Sage, and managed by Sage, Short, and Halcrow (specifically, American Physician
House Calls (“APH”) and its non-profit arm, American Physician House Calls Health Services
(“APHHS”)) were used as tools to significantly increase referrals and, thereby Part A Medicare
payments, to the White/Kumar owned Part A Medicare participant companies (specifically, Be
Gentle Home Health, Inc. d/b/a Phoenix Home Health Care, North Texas Best Home Health,
A&S Home Health Care, Goodwin Home Health Services, Inc., Hospice Plus, L.P., Goodwin
Hospice, which are all Defendants in this case).

34. The illegal kickbacks to Sage, Short, and Halcrow from White and Kumar in the
scheme include: (l) equity interest for Sage and Short in at least one White/Kumar owned
company (Be Gentle d/b/a Phoenix), (2) loans from White to APH (primarily owned by Sage)
which were never intended to be repaid, and in fact were never repaid, (3) and leased spaced for
APH for which rent was not paid on a monthly basis

35. The self-interested illegal referrals include (1) a steady stream of original referrals
and re-certification referrals to the White/Kumar owned Part A companies from the Sage owned
Part B companies (APH/APHHS) managed by Sage, Short, and Halcrow, and (2) referrals back
to the Sage owned Part B companies (APH/APHHS) from the White/Kumar owned Part A
companies for re-certification.

36. The illegal purpose, which the evidence shows that White, Kumar, Sage, Short,
and Halcrow all had the requite knowledge, was to maintain the cycle of self-interested referrals
to the White/Kumar owned Part A Medicare participant companies in order to Substantially bill
and receive payment from Medicare.

37. As a result of this scheme, the White/Kumar owned Part A companies were able

to bill Medicare an astronomical amount of money through claims that were falsely certified.

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Specifically, the White/Kumar Part A companies received Medicare payments in excess of
$100,000,000.00 from 2006 to 2012, based on the personal knowledge of Relator and an analysis
of internal documents provided in Appendix B, D, by Relator, the finance Director of APH.

38. Under the False Claims Act the consequential civil penalties and damages for this
scheme are substantial Each individual false claim (of which there are tens of thousands) creates
liability in civil penalties of between $5,500.00 and $11,500.00 per false claim (when adjusted
for inflation), plus 3 times the amount of damages the Government sustained, which again, is
well in excess of $100,000,000.00.

39. This action is filed by Relator Christopher Sean Capshaw on behalf of the United
States of America. Relator has personal knowledge of the scheme including documentation
detailing the specific scheme of illegal referrals and the amounts paid by Medicare as a result of
this scheme, Through the attached appendices and disclosure statement, Relator is providing over
30 gigabytes of detailed information and proof in support of these claims This information
provides the identity, subject, places, dates, and amount of money involved in the corpus of the
scheme.

40. Since the collapse of APH and APHHS, the individual Defendants have

resurrected the scheme for the benefit of the Medicare Part A Defendants. Sheila Halcrow fills
the same role in the new company as she did in APH,

III.
JURISDICTION

4l. Relator brings this action in the name of the United States of America. The
federal district court has original jurisdiction in this proceeding pursuant to Section 31 U.S.C.
Title 3729 and 3730, in this civil action arising under the Federal laws of the United

States Relator is not a present or former member of the government including Congress, the

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Executive branch or the armed forces No Defendant is a member of the government No claim
herein is the subject of any other federal criminal, civil or administrative hearing. No claim
herein has been otherwise publicly disclosed. The Relator himself, a true innocent insider, is the
original source of all information provided here and information provided in his disclosure
statement to the United States The requisite disclosure statement is being provided to the United
States All conditions precedent have been met. This complaint is filed under seal Pursuant to 31

U.s.C. 3730(b)(2)

IV.
VENUE
42. The venue is proper in this District by virtue of Title 28 Section 1391(b) in that all

of the Defendants maintain an office and principal place of business and are subject to personal

jurisdiction in the District as a result of conducting substantial business in the District.

M
43. Under Federal law, a conspiracy to commit knowingly false certification of
compliance (with the Anti-Kickback and Stark law) when seeking payment and/or billing a
F ederal Government Program (such as Medicare)--as a matter of law--is a conspiracy to commit
legally false claims under the False Claims Act, when the certification is a prerequisite for
payment.
44. Therefore, as a matter of law, express certifications which are a condition of

payment from Medicare that are false, as well all implied false certifications made when billing

Medicare create liability under the False Claims Act.

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Materiality of the False Certifications

45. Furthermore, as a matter of law, when a false certification of compliance (with the
Anti-Kickback and Stark law) is a “condition of payment,” the false certification is “material”
within the meaning of the False Claims Act. Federal Courts have recognized that if Medicare
knew the certification of compliance was false, it would refuse to pay.

The False Claims Act

The False Claims Act (FCA) provides, in pertinent part that:

(a)Liability for certain acts.--In general [] (l) Any person who (A) knowingly
presents, or causes to be presented, a false or fraudulent claim for payment or
approval; (B) knowingly makes, uses, or causes to be made or used, a false record or
statement material to a false for fraudulent claim; (C) conspires to commit a
violation...; (G) knowingly makes, uses, or causes to be made or used, a false record
or statement material to an obligation to pay or transmit money or property to the
Government,

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is liable to the United States Government for a civil penalty of not less than $5,000
and not more than $10,000 as adjusted by the Federal Civil Penalties Inflation

Adjustment Act of 1990, plus 3 times the amount of damages which the Government
sustains because of the act of that person

(b) For purposes of this section--(l) the terms "knowing" and "knowingly"--(A)
mean that a person, with respect to information (i) has actual knowledge of the
information; (ii) acts in deliberate ignorance of the truth or falsity of the information;

or (iii) acts in reckless disregard of the truth or falsity of the information, and (B)
require no proof of the Specific intent to defraud.

31 U.S.C. § 3729.

46. In this case, the false certifications made to Medicare were that the Anti-Kickback

Statue and Stark Law were complied with when in fact they were not.

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The Anti-Kickback Statute

47. The Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b), arose out of congressional
concern that payoffs to those who can influence healthcare decisions would result in goods and
services being provided that are medically unnecessary, of poor quality, or even harmful to a
vulnerable patient population. To protect the integrity of the program from these difficult-to-
detect harms, Congress enacted a per se prohibition against the payment of kickbacks in any
form, regardless of whether the particular kickback gave rise to overutilization or poor quality of
care. First enacted in 1972, Congress strengthened the statute in 1977 and 1987 to ensure that
kickbacks masquerading as legitimate transactions did not evade its reach. See Social Security
Amendments of1972, Pub. L. No. 92-603, §§ 242(b) and (c); 42 U.S.C. § 1320a-7b, Medicare-
Medicaid Antifraud and Abuse Amendments, Pub. L. No. 95-142; Medicare and Medicaid
Patient and Program Protection Act of 1987 , Pub. L. No.l 00-93.

48. The Anti-Kickback Statute prohibits any person or entity from making or
accepting payment to induce or reward any person for referring, recommending or arranging for
federally- funded medical services, including services provided under the Medicare and

Medicaid programs with both civil and criminal penalties

Under 42 U.S.C.A. § 1320a-7a Civil Monetary Penalties:
(a) Improperlyy filed claims

Any person (including an organization, agency, or other entity, but excluding a `
beneficiary, as defined in subsection (i)(5) of this section) that--

(8) knowingly makes, uses, or causes to be made or used, a false record or statement
material to a false or fraudulent claim for payment for items and services furnished under

a Federal health care program;...

shall be subject, in addition to any other penalties that may be prescribed by law, to a
civil money penalty of not more than $10,000 for each item or service...[or]$50,000 for

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each such act, in cases under paragraph (8)....In addition, such a person shall be subject to
an assessment of not more than 3 times the amount claimed for each such item or service
in lieu of damages sustained by the United States or a State agency because of such claim

Under 42 U.S.C.A. § 1320a-7b Criminal Penalties for Acts Involving Federal Health Care
Programs

(b) Illegal remuneration

(l) whoever knowingly and willfully solicits or receives any remuneration
(including any kickback, bribe, or rebate) directly or indirectly, overtly or
covertly, in cash or in kind--

(A) in return for referring an individual to a person for the furnishing or
arranging for the furnishing of any item or service for which payment may
be made in whole or in part under a Federal health care pro gram, or

(B) in return for purchasing, leasing, ordering, or arranging for or
recommending purchasing, leasing, or ordering any good, facility, service,
or item for which payment may be made in whole or in part under a
Federal health care pro gram,

shall be guilty of a felony and upon conviction thereof, shall be fined not more
than $25,000 or imprisoned for not more than five years, or both.

(2) whoever knowingly and willfully offers or pays any remuneration (including
any kickback, bribe, or rebate) directly or indirectly, overtly or covertly, in cash
or in kind to any person to induce such person --

(A) to refer an individual to a person for the fumishing or arranging for the
furnishing of any item or service for which payment may be made in
whole or in part under a Federal health care program, or

(B) to purchase, lease, order or arrange for or recommend purchasing,
leasing or ordering any good, facility, service, or item for which payment

may be made in whole or in part under a Federal health care program,

Shall be guilty of a felony and upon conviction thereof, shall be fined not more
than $25,000 or imprisoned for not more than five years, or both.

42 U.s.C. § 1320a-7b(b).

49. Violation of the statute can also subject the perpetrator to exclusion from
participation in federal health care programs and, effective August 6, 1997, civil monetary

penalties of $50,000 per violation and three times the amount of remuneration paid. 42 U.S.C. §

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1320a- 7(b)(7) and 42 U.S.C. § 1320a-7a(a)(7).

Stark Law

50. Enacted as amendments to the Social Security Act, 42 U.S.C. § 1395nn
(commonly known as the "Stark Statute") prohibits a hospital (or other entity providing
healthcare items or services) from submitting Medicare claims for payment based on patient
referrals from physicians having a "financial relationship" (as defined in the statute) with the
healthcare provider. The regulations implementing 42 U.S.C. § 1395nn expressly require that
any entity collecting payment for a healthcare service "performed under a prohibited referral
must refund all collected amounts on a timely basis" 42 C.F.R. § 411.353.

51. The Stark Statute establishes the clear rule that the United States will not pay for
items or services prescribed by physicians who have improper financial relationships with other
providers The statute was designed specifically to reduce the loss suffered by the Medicare
program due to such increased questionable utilization of services

52. Congress enacted the Stark Statute in three parts, commonly known as Stark I,
Stark II and most recently Stark lII (Stark III is actually just a new phase of Stark II). Enacted in
1989, Stark I applied to referrals of Medicare patients for clinical laboratory services made on or
after January 1, 1992, by physicians with a prohibited financial relationship with the clinical lab
provider. See Omnibus Budget Reconciliation Act of 1989, P.L. 101-239, § 6204.

53. In 1993, Congress extended the Stark Statute (Stark Il) to referrals for ten
additional designated health services See Omnibus Reconciliation Act of 1993, P.L. 103-66, §
13562, Social Security Act Amendments of 1994, P.L. 103-432, § 152.

54. As of January 1, 1995, Stark ll applied to patient referrals by physicians with a

prohibited financial relationship for the "designated health services" which included inpatient

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and outpatient hospital services See 42 U.S.C. § l395nn(h)(6).

In pertinent part, the Stark Statute provides:
(a) Prohibition of certain referrals
(l) In general
Except as provided in subsection (b) of this section, if a physician (or an
immediate family member of such physician) has a financial relationship with
an entity specified in paragraph (2), then --
(A) the physician may not make a referral to the entity for the iiirnishing
of designated health services for which payment otherwise may be made
under this subchapter, and
(B) the entity may not present or cause to be presented a claim under this
subchapter or bill to any individual, third party payer, or other entity for
designated health services fumished pursuant to a referral prohibited under

subparagraph (A).

42 U.S.C. § 1395nn.17.

55. The Stark Statute broadly defines prohibited financial relationships to include any
"compensation" paid directly or indirectly to a referring physician. The statute's exceptions then
identify specific transactions that will not trigger its referral and billing prohibitions Those
exceptions do not apply in this case.

56. Violation of the statute may subject the physician and the billing entity to
exclusion from participation in federal health care programs and various financial penalties,
including (a) a civil money penalty of 315,000 for each service included in a claim for which the
entity knew or should have known that payment should not be made under Section 1395nn(g);
and (b) an assessment of three times the amount claimed for a service rendered pursuant to a
referral the entity knew or should have known was prohibited. See 42 U.S.C. §§ 1395nn(g),

13203-7a(a).

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The Medicare and Medicaid Programs

57. In 1965, Congress enacted Title XVIII of the Social Security Act, known as the
Medicare program, to pay for the costs of certain healthcare services Entitlement to Medicare is
based on age, disability or affliction with end-stage renal disease. See 42 U.S.C. §§ 426, 426A.

58. Part A of the Medicare Program authorizes payment for institutional care,

including hospital, skilled nursing facility and horne health care. See 42 U.S.C. §§ l395c-l395i-
4.

59. Part B of the Medicare Program authorizes payment for medically necessary
doctor's services, outpatient care, and most other services that Part A does not cover such as
horne health care services See 42 U.S.C. §§ 1395c-1395i-4.

60. HHS is responsible for the administration and supervision of the Medicare
program. The Centers for Medicare and Medicaid Services (CMS) is an agency of HHS and is
directly responsible for the administration of the Medicare program.

61. Under the Medicare program, CMS makes payments retrospectively (aiter the
services are rendered) to healthcare providers for inpatient and outpatient services Medicare
enters into provider agreements with the healthcare providers in order to establish the providers’
eligibility to participate in the Medicare program. However, Medicare does not prospectively
contract with hospitals to provide particular services for particular patients Any benefits derived
from those services are derived solely by the patients and not by Medicare or the United States

62. As detailed below, Defendants submitted or caused to be submitted claims both
for specific services provided to individual beneficiaries as a result of referrals in violation of the
Stark law and Anti-Kickback Legislation whereupon the Defendants’ bills to Medicare incurred

in treating these Medicare beneficiaries were paid by Medicare.

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FACTUAL PREDICA'IYI§°AND BACKGROUND
The Co-Conspirators’ Scheme (Who, What, When, Where, How, and Scienter).

Paragraphs 1-62 are incorporated herein as if fully set forth.
Co-Conspirators (Who):

63. In this case, Suresh Kumar, Bryan K. White, D. Yale Sage, Kirk Short and Sheila

Halcrow are the principals in the fraudulent scheme alleged in this Complaint.

64. The Part A Medicare participant companies, specifically, Be Gentle Home Health,
Inc. d/b/a Phoenix Home Health Care, North Texas Best Home Health, A&S Home Health Care,
Goodwin Home Health Services, Inc., Hospice Plus, L.P., Goodwin Hospice, which are all
Defendants, were all involved in the scheme,

65. The Part B Medicare participants companies, specifically, American Physician
House Calls (“APH”) and its non-profit arm, American Physician House Calls Health Services
(“APHHS”) were involve in the scheme, but are not defendants in this case only because they are
now bankrupt entities

66. The ownership and management of the Part A and Part B companies reveal the

following:
Bryan K. White

Bryan K. White owned in whole or in part the following Part A Medicare participant
companies Be Gentle Home Health, Inc. d/b/a Phoenix Home Health Care, North Texas Best
Home Health, A&S Home Health Care, Goodwin Home Health Services, Inc., Hospice Plus,

L.P., Goodwin Hospice. Bryan White also directed the physicians employed by Part B Medicare

Participant APHHS in his position as Director of Medicine of APHHS.

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Suresh Kumar

Suresh Kumar owned in whole or in part the following Part A Medicare participant
companies: Be Gentle Home Health, Inc. d/b/a Phoenix Home Health Care, Goodwin Home
Health Services, Inc., Hospice Plus, L.P. Suresh Kumar also was a substantial investor in Part B
Medicare Participant APH. Kumar also managed (personally or through his family relations), Be
Gentle Home Health, Inc. d/b/a Phoenix Home Health Care, North Texas Best Home Health,
A&S Home Health Care, Goodwin Home Health Services, Inc., Hospice Plus, L.P., Goodwin
Hospice.
Dan Yale Sage

Dan Yale Sage owned, in part, the following Part A Medicare participant company, Be
Gentle Home Health, Inc. d/b/a Phoenix Home Health Care. Sage also was the primary owner of
Part B Medicare Participant company, American Physician House Calls (APH). Sage was also a
primary manager of APH, and therefore APHHS, which had a sole management agreement to
manage APH.
Kirk Short

Kirk Short owned, in part, the following Part A Medicare participant company, Be Gentle
Home Health, Inc. d/b/a Phoenix Home Health Care. Short also was a stakeholder of Part B
Medicare Participant company, American Physician House Calls (APH). Short was also a
primary manager of APH, and therefore APHHS, which had a sole management agreement to

manage APH,

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Sheila Halcrow

Sheila Halcrow also was a stakeholder of Part B Medicare Participant company,
American Physician House Calls (APH). Halcrow was also a primary manager of APH, and
therefore APHHS, which had a sole management agreement to manage APH.

The Scheme (What & How):

67.. This scheme, in essence, was a conspiracy to commit violations of the Federal
Anti-Kickback statute and Stark law, which resulted in violations of the False Claims Act by
Defendants.

68. Defendants, directly and through conspiracy, made material false statements to
Medicare in order to receive payment on Medicare claims The material false statements were
express certifications, which were made as a condition of payment, made by the doctors in their
Medicare Enrollment Application and ongoing reapplication. The express certification,
specifically states:

“I understand that payment of a claim by Medicare is conditioned upon the

claim and the underlying transaction complying with such laws, regulations and

program instructions (including, but not limited to, the Federal anti-kickback

statute and the Stark law), and on the supplier’s compliance with all applicable
condition of participation in Medicare.”

69. In addition, Defendants also made a implied false certifications when billing
Medicare that all claims and underlying transactions complied with the Federal Anti-kickback
statute, Stark law, and other such laws

70. In order to guarantee a steady stream of referrals to the White/Kumar Part A
Medicare participant companies, illegal kickbacks were made to Sage, Short, and Halcrow from

White and Kumar (in violation of the Anti-Kickback statute). Specifically, Kickbacks include (l)

equity interest for Sage and Short in at least one White/Kumar owned company (Be Gentle d/b/a

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Phoenix), (2) loans from White to APH (primarily owned by Sage) that were never intended to
be repaid, which is evidenced by the Debt Instrument Chart, attached as Appendix F, and (3)
leased spaced for APH for which monthly rent was never paid, which is evidenced by The City
Mark Lease attached as Appendix H.

71. The self-interested illegal referrals made to and from Defendants include (l) a
steady stream of original referrals and re-certification referrals to the White/Kumar owned Part A
companies from the Sage owned Part B companies (APH/APHHS) managed by Sage, Short, and
Halcrow, which is evidenced by the Referral Spreadsheet attached as Appendix B; and (2)
referrals sent back to the Sage owned Part B companies (APH/APHHS) from the White/Kumar
owned Part A companies for re-certification, which is evidenced by The SuperBill document
showing billing to Medicare, excerpts of which are attached as Appendix C.

72. The illegal purpose was to maintain the cycle of self-interested referrals to the
White/Kumar owned Part A Medicare participant companies in order to substantially bill and
receive payment from Medicare.

73. As a result of this scheme, the White/Kumar owned Part A companies were able
to bill Medicare an astronomical amount of money through claims that were falsely certified.
Relator’s analysis, as the Director of Finance for APH, is that the combined Medicare payments
put the amount received as a direct result of the false certification upwards of 3100,000,000.00.
This analysis is further evidenced by The Summary of The Hospice Plus Monthly Billing
Statements which is attached as Appendix D, as well as the personal knowledge of Relator.

74. The Flowchart below, which is also attached as Appendix I, has been inserted to
clarify how the scheme worked. But for this scheme, the government would not have paid the

billings by the Defendants.

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Part A Businesses
owned by
Bryan White &
Shuresh Kumar

 

 

 

Businesses which are all
owned by White and/or
Kumar, and are all
managed by Kumar (or
Kumar‘s relatives)

 

BE GENTLE D/s/A
PHoEle HoME HEALTH
CARE owned by

White & Kumar
(Sage & Short have
ownership interest)

     

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PART B Business propped up
By White loans & Kumar

investment

 

 

 

 

AMERchN PHvslciANs HousEcALLs (APH)

 

 

 

Managed by ¥a|e Sage, Kirk Short, & Sheila Halcrow
Halcrow controlled APHHS physicians and mandated a
certain class of referrals by APHHS physicians to White/
Kumar owned companies

 

 

 

 

Referral Scheme in Vio|ation of Stark law
and Anti-Kickback Statute

 

(¥

Sole member
management
contract

V

 

 

 

 

 

 

 

NORTH TExAs BEsT
HoME HEALTH owned
by White

 

 

 

A + S HoME HEALTH
CARE owned by
White

 

 

GooowlN HOME
HEALTH SEvacEs, |Nc.
owned by White &
Kumar

 

 

 

HosPicE PLus owned
by White & Kumar

 

 

GooowlN HosPlcE
owned by White &
Kumar

 

 

 

 

 

 

 

  

APHHS doctors refer to

White/Kumar owned home
care companies (with Form
HCFA-485 certification of

necessitvl, and refer to

White/Kumar owned hospice
companies via doctor's order.
Referra|s include original and

re-certification referrals

Referrals back from White/
Kumar owned home care
and hospice companies to

APHHS doctors for re-

certification, Form 48S's and

orders, every 60 days

 

 

 

AMER\cAN
PHYslciANs
HousEcALLs HEALTH
SERvicEs (APHHS);
(501(a) non-profit
arm of APH)

 

 

  

    

 

White, Director of
Medicine APHHS.
APHHS employed
physicians, who
were controlled by
White and Halcrow.
who mandated that
all referrais, for
patients without
prior Part A facility
relationship, be to
White/Kumar
owned companies

 

 

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75. Importantly, Sheila Halcrow was employed by APH but handled the
administrative duties related to patient record keeping and referrals for APHHS as well. Bryan
White, as the Medical Director for APHHS, controlled the APHHS physicians through daily
directions given by Sheila Halcrow.

76. When a patient did not have a prior existing relationship with a Part A Medicare
participant company, Sheila instructed the APHHS physicians to refer the patient to the
appropriate White/Kumar owned Part A companies in a controlled manner so as not to arouse the
suspicion any curious government employees or outsiders The initial certification of necessity
for services by the APHHS physicians (made via an HCFA form 485 for the horne care
companies, and Orders for the hospice companies) were made habitually, by mandate, so that the
White/Kumar Part A companies could continue to make claims to Medicare and receive
payment.

77. For patients in need of Hospice services, only a doctor"s or Medical Director’s
order is necessary (as opposed to the HCFA-485 forrn) for the referral to a Medicare Part A
facility. In these instances, patients cared for by physicians were referred to Hospice Plus and
Goodwin Hospice, which are also White/ Kumar owned companies

78. When the Medicare Part A patients needed recertification of necessity for services
provided by the Part A Defendants companies the patient was referred back to the physician for
recertification. The recertification was signed by the actual physician directed by Halcrow who
often had consent from some physicians to sign their names, in some instances

79. Furthermore, through this cycle, the Part A Defendant companies were able to

continue to bill Medicare for this class of patients again and again.

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80. All payments made by Medicare in connection with these referrals from each of
the Part A Medicare Defendant entities are express violations of the Certification Statement by
each Defendant in each of their Medicare Enrollment Applications that state in pertinent part:

“I understand that payment of a claim by Medicare is conditioned upon the claim

and the underlying transaction complying with such laws, regulations, and

program instructions (including, but not limited to, the Federal anti-kickback

statute and the Stark law), and on the supplier’s compliance with all applicable

condition of participation in Medicare.”

This is evidenced by the Medical Enrollment Application attached as Appendix A. See

p.25.

81. All billing to Medicare in connection with these referrals are implied violations of
the Certification Statement by each Defendant (including billing by or through the Defendant
entities) in each of their Medicare Enrollment Applications that state in pertinent part:

“l agree to abide by the Medicare laws, regulations and program instructions that

apply to me or to the organization listed in Section 4A of this application.”

See id at 25.

82. Hospice Plus provides an example to measure the amount of damages involved in
this False Claims scheme, In only a 3.25 year period, at least 50 percent of Hospice Plus patients
came from referrals by APPHS employees For that period alone, Hospice Plus (which is only
one Part A provider Defendant) was paid over $29,300,000.00 from Medicare. This is evidenced
The Summary of The Hospice Plus Monthly Billing Statements which is attached as Appendix
D. Based on the analysis and the personal knowledge of the Relator, Hospice Plus was one of the

smaller entities involved in this scheme.

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83. During the time where the scheme was in operation, APH and APHHS were not
profitable and were steadily losing money. However, the Part A White/Kumar owned companies
(like Hospice Plus) were profiting significantly from the referrals by APHHS employees

84. In order to sustain the stream of referrals and re-certifications by APHHS
employees, White “propped up” APH and APHHS through a series of debt instruments and
loans By the time APH failed, White personally provided approximately $l,900,000 in loans to
fund the APH/APHHS operation. There is no evidence that any of the loans were repaid or were
ever intended to be repaid. One of the promissory notes through which White funneled money to
APH was a backdated note executed just prior to the Bankruptcy filings of these entities In
addition to this back-dated note, APH documents reveal a schedule of the debt instruments; the
terms of those instruments were extended “indeiinitely”. This is evidenced by The Debt

Instrument Chart attached as Appendix F.

Dates of the Overall Scheme and Individual Referral Transactions (When)

85. There are two levels of “when"’ the scheme occurred. In the most broad sense, the
scheme began in on or about 2006 until on or about May of 2012. All referrals by APHHS
physicians to all Medicare Part A Defendants, and all billing associated with each patient
referred represents violations of the False Claims Act (and violations of the Anti-Kickback
Statute and Stark law),

86. On a more individualized level, meaning per patient, the referrals occurred in

accordance with the referral transaction, which can be seen by way of example, in Appendix B.

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Location of the Scheme (Where)

87. In the most broad sense, the scheme transpired in the Northem District of Texas.
More specifically, scheme unfolded at location of the Defendants offices and the offices of APH
and APHHS, which are as follows:

3100 McKinnon, Suite 400, Dallas, Texas, in addition to each Medicare Part A
Defendants’ address, described above and incorporated herein, under the heading “Parties.”

Evidence of Scienter (“Knowingly”)

88. Bryan K. White, Suresh Kumar, Dan Yale Sage, Kirk Short and Sheila Halcrow
all played a role in causing false claims to be presented to Medicare. Specifically, they caused all
the physicians who worked for APHHS throughout the duration of the scheme, who are listed in
the extreme right column of the spreadsheet attached as Appendix B and incorporated herein (as
well as any other similarly situated APHHS physician not listed), to make certifications that were
false. Moreover, Bryan K. White, Suresh Kumar, Dan Yale Sage, Kirk Short and Sheila Halcrow
knowingly caused these false certification to be made in furtherance of the scheme, The included
evidence specifically shows that White, Kumar, Sage, Short, and Halcrow had actual knowledge,
or acted with deliberate ignorance, of the false certifications being made to Medicare (and the
underlying violations of the Anti-Kickback statute and Stark law) in order to effectuate the
scheme and obtain payment to the Part A Medicare Defendants.

VII.
COUNTS

Count I--False Claims Act, 31 U.S.C. § 3729(a)(1)

Presenting Claims to Medicare and Medicaid for Services Rendered as a Result of
Kickbacks

89. Relator incorporates by reference paragraphs 1-89 of this complaint as if fully set

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forth.

90. Defendants knowingly presented, or caused to be presented, false and fraudulent
claims for payment or approval to the United States, including claims for payments and/or
reimbursement for services rendered to patients unlawfully referred to by physicians and others
to whom defendants provided kickbacks and/or illegal remuneration and/or with whom
defendants entered into prohibited financial relationships in violation of the Anti- Kickback
Statute and the Stark Statute.

91. By virtue of the false or fraudulent claims defendants caused to be made, the
United States suffered damages and therefore is entitled to multiple damages under the False
Claims Act, to be determined at trial, plus a civil penalty of $5,500 to $11,500 for each violation.

Each bill for each patient paid by Medicare that followed the referrals is an individual violation.

Count II--False Claims Act, 31 V.S.C. § 3729(a)(2)
Use of False Statements

92. Relator incorporates by reference paragraphs 1-91 of this complaint as if fully set
forth.

93. Defendants knowingly made, used, and caused to be made or used, false records
or statements

94. By virtue of the false or fraudulent claims defendants knowingly caused to be
made, the United States suffered damages and therefore is entitled to multiple damages under the
False Claims Act, to be determined at trial, plus a civil penalty of $5,500 to $11,500 for each
violation. Each bill for each patient paid by Medicare that followed the referrals is an individual

violation.

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Count III--False Claims Act, 31 V.S.C. § 3729(a)(3)
Conspiracy to Submit False Claims

95. Relator incorporates by reference paragraphs 1-94 of this complaint as if fully set
forth.

96. Defendants entered into agreements with certain physicians and conspired to
defraud the United States by causing the submission of false or fraudulent claims for payment
and/or reimbursement from the United States for monies to which they were not entitled, in
violation of 31U.S.C.§3729(a)(3).

97. As part of the schemes and agreements to obtain payment and/or reimbursement
from the United States in violation of federal laws defendants conspired to provide kickbacks
and illegal remuneration to each other, to physicians and others and to engage in prohibited
financial relationships with physicians and others in violation of the Stark Law and Anti-
Kickback statute--i.e., the false certifications and representations made and caused to be made by
defendants when submitting the false claims for payments and the false certifications made and
caused to be made by defendants in submitting the cost reports as well as false entries in medical
records--to get false or fraudulent claims paid and approved by the United States

98. By virtue of the false or fraudulent claims made by the defendants the United
States suffered damages and therefore is entitled to multiple damages under the False Claims
Act, to be determined at trial, plus a civil penalty of $5,500 to $11,500 for each violation. Each

bill for each patient paid by Medicare that followed the referrals is an individual violation.

VII.
PRAYER FOR RELIEF

WHEREFORE, Plaintiff/Relator demands judgment against the Defendants requesting

relief as follows:

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l. Find for the Plaintiff and award treble damages or any other applicable provision
of law, including any alternate remedy provisions for each false or fraudulent charge, or
overcharge, submitted for payment to the United States government;

2. Awarding civil penalties against the Defendants each jointly and severally in an
amount between Five Thousand, Five Hundred Dollars ($5,500.00) and Eleven Thousand
Dollars (311,500.00) for each violation of 31 U.S.C. §3729, et seq.; of 2 U.S.C.§1320a-7b(b),
and other Anti-Kickback Statutes; of 45 C.F.R. 46, et seq.; of the Settlement Agreement with the
Office of Inspector General Department of Health and Human Services; or such other maximum

amount allowed by law.

3. Award all actual damages
4. Award costs and reasonable attorneys fees
5. Award other such relief as may be just.
Respectfillly submitted,
TED B. LYON TES, P.C.
By:

 

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